
MADDOX, Justice.
WRIT DENIED.
By denying the writ, we point out that writs of certiorari are frequently denied without any consideration of the merits. Haden v. Olan Mills, Inc., 273 Ala. 129, 135 So.2d 388 (1961). A denial of certiorari should never be considered as an expression by the reviewing court on the merits of the controversy. See Hamilton Brown Shoe Co. v. Wolf Brothers, 240 U.S. 251, 36 S.Ct. 269, 60 L.Ed. 629 (1916). Our denial of the writ should not be understood as approving or disapproving the language used, or the statements of law contained in the opinion of the Court of Civil Appeals. See Cooper v. State, 287 Ala. 728, 252 So.2d 108 (1971).
TORBERT, C. J., and JONES, SHORES and BEATTY, JJ., concur.
